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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

DE’JUAN THOMAS                                      :        CIVIL ACTION

                                                    :        NO. 17-1595-SDD-EWD
VERSUS
                                                    :        JUDGE SHELLY D. DICK

SALLY GRYDER, ET AL.                                :
                                           MAGISTRATE JUDGE
                                           ERIN WILDER-DOOMES
************************************************************************
MEMORANDUM IN SUPPORT OF SECOND MOTION FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

           This is an action brought by the De’Juan Thomas (“Plaintiff”), against defendants James

LeBlanc, Jerry Goodwin, and Sally Gryder, employees of Louisiana Department of Public Safety

& Corrections (“DPS&C”).1 For the reasons discussed below, Plaintiff’s §1983 claims against

defendants LeBlanc, Goodwin, and Gryder should be dismissed because there are no genuine

issues of material facts as to critical elements of Plaintiff’s claims. Specifically, defendants are

entitled to summary judgment because (1) his claims are barred by the principles set forth in the

United States Supreme Court case Heck v. Humphrey and its progeny, (2) the defendants are

entitled to qualified immunity, and (3) Plaintiff lacks standing to brings claims for injunctive relief.

           STATEMENT OF THE CASE

           A. Factual Background

           On January 25, 2013, Plaintiff pleaded guilty in Orleans Criminal District Court, where he

was sentenced pursuant to three (3) convictions:

           Count 1: Sexual Malfeasance in Prison (La. R.S. §14:1341.1) – Five (5) Years;



1
    R. Doc. 1.

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         Count 2: Sexual Battery (La. R.S. §14:43.1) – Two (2) Years;

         Count 3: Second Degree Kidnapping (La. R.S. §14:44.1) – Five (5) Years.2

These charges were designated to run concurrently, with credit for time served.3

         Upon his incarceration, defendant Sally Gryder, an employee of David Wade Correctional

Center responsible for calculating offender release dates, recalculated Plaintiff’ release date on

four occasions.4 The first recalculation gave Plaintiff credit for time served.5 The second and third

recalculations gave Plaintiff Certified Treatment and Rehabilitation Program (“CTRP”)6 and

“good time” credits, which gave Plaintiff’ a good time release date7 of June 25, 2015.8 The fourth

recalculation by Gryder, in May 2015, is the primary action at issue in this case.9

         On May 5, 2017 (and as Plaintiff’s June release date approached), Ms. Gryder sent an e-

mail to Donald Cassels with the Orleans Parish District Attorney’s Office in which she inquired

about a discrepancy between the sentencing minutes and the bill of information.10 She also spoke

with the Assistant DA, who told her that Plaintiff got five years on the sexual battery conviction,

but she still did not recalculate Plaintiff’s release date.11 On May 7, 2015, the minute clerk with

the Orleans Parish Clerk issued a minute entry that read in pertinent part that “the minute clerk on

this date, took notice that the minute entry 01/25/13 is in error. The counts are listed incorrectly




2
  Exhibit 22.
3
  Id.
4
  Ms. Gryder did not perform the initial calculation of Plaintiff’s release date. Exhibit 1, 49:5-51:18.
5
  Id, 50:21-23.
6
   CTRP credits are obtained by taking approved courses, which can provide a reduction of sentence by up to three
hundred and sixty-five days off of an offender’s release date. Exhibit 1, 106:21-107:19.
7
  For ease of use, Defendants will refer to this diminution of sentence release date as Plaintiff’s “good time date.”
8
  Exhibit 1, 50:24-51:4. Without these credits, Plaintiff’s “full term” release date was February 28, 2017. This is an
important date because, as discussed below, the events occurring in 2015 led Sally Gryder to believe that his legal
release date was in fact his full-term date.
9
  Id. 51:5-11.
10
   Exhibit 8.
11
   Exhibit 1, 53:24-54:2.

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within the minute entry of 01/25/13. However, the sentence listed is correct.”12 The amended

minute entry went on to reflect that Plaintiff’s sentence as the following:

         Count 1: Second Degree Kidnapping (La. R.S. §14:44.1) – Five (5) Years;

         Count 2: Sexual Malfeasance in Prison (La. §14:134.1) – Two (2) Years;

         Count 3: Sexual Battery (La. R.S. §14:43.1) – Five (5) Years.13

This change reflected in the May 7, 2015 minutes fundamentally affected Plaintiff’s good time

release date, as a sentence for sexual battery is not eligible for any “good time” reductions, meaning

that Plaintiff was no longer eligible for release in June 2015.14 Under this sentencing framework,

Plaintiff’s correct release date would have been February 28, 2017 (his full term release date), not

his good time release date of June 5, 2015.15

         After seeing the May 7, 2015 amended minutes, Ms. Gryder sent an e-mail to Donald

Cassels with the Orleans Parish District Attorney’s Office on May 11, 2015, which read:

                  Good morning – I just pulled this offender’s court minutes on Docket
                  Master read the minute entry for 5/07/15. According to the minutes, he did
                  receive 5 years for the sexual battery and 2 for the Malfeasance. I just want
                  to verify that with you before changing his time and informing him. I feel
                  sure he knows his time is wrong, but he was just a few days from getting
                  released.16

In response to this e-mail, Mr. Cassels replied “[t]he updated minute entry is correct. I can send

you a certified copy, if that would be helpful.17 Accordingly, Ms. Gryder recalculated Plaintiff’

release date, for the fourth time, to a full term release date of February 28, 2017.18




12
   Exhibit 23.
13
   Id. This is also the count order in which they are addressed in the amended minute entry.
14
   Exhibit 1, 44:16-18 (“sexual battery does not earn good time”).
15
   Id, 57:5-17.
16
   Exhibit 8.
17
   Id.
18
   Exhibit 1, 51:5-8; Exhibit 9, p. 3.

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         Following his cancelled release date, Plaintiff sent Gryder a letter, requesting a meeting to

“further discuss my refusal of release from this institution.”19 On June 26, 2015, Gryder responded

to Plaintiff and informed him “[y]ou are now serving your time flat and will full-term out on

02.28.2017.”20 Plaintiff then responded with a letter on June 28, 2015. 21 On August 7, 2015, Ms.

Gryder responded to Plaintiff and informed him that she did not change his sentence until after

receiving written verification from the District Attorney’s office and a corrected minute entry from

the sentencing court.22 She also informed him that “unless this office receives additional

information from Orleans Parish contrary to what we have, your sentence will remain the same.”23

         Plaintiff also wrote a letter to Warden Jerry Goodwin.24 Defendant Goodwin forwarded

this letter to Brenda Acklin, Gryder’s supervisor, and spoke with both Gryder and Acklin about

Plaintiff.25 Acklin drafted a response to Plaintiff which stated that “your time was adjusted

correctly by Ms. Gryder and the minutes from Orleans Parish are attached for your information.”26

This letter was reviewed and signed by Goodwin prior to being sent to Plaintiff.27

         Plaintiff filed a motion for correction of illegal sentence with the Orleans District Court.

On July 28, 2016, Judge Graham Bosworth issued an order wherein the Court states in pertinent

part that “the defendant states there is an incorrect minute entry and his sentence is incorrect. This

is correct, however on January 25, 2013 this matter was corrected through a corrective minute

entry.”28 The Court went on to say that “the defendant’s assertions are correct with regard to his



19
   Exhibit 9, p. 4.
20
   Id, p. 3.
21
   Id, p. 2.
22
   Id, p. 1.
23
   Id.
24
   Exhibit 10.
25
   Exhibit 4, 23:20-24:13.
26
   Exhibit 10.
27
   Id; Exhibit 4, 23:20-24:3.
28
   Exhibit 11.

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sentence, however the incorrect entries have been amended with the correct minute entries. As

such this motion is denied as being moot.”29 Defendant Gryder testified that she did not recall

seeing this this document until after litigation commenced.30

         On or around November 18, 2016, Plaintiff sent a letter to defendant Gryder wherein he

states that he received court documents “supporting my claims of having (two) 2 years to serve on

the sexual battery charge. I will present to you the stated and time given to me on January 25,

2013.”31 In November 2016, Plaintiff also filed an administrative remedy procedure (“ARP”) with

DWCC officials, complaining that he had been over detained since his actual release date of June

15, 2015.32

         On December 5, 2016, Plaintiff sent a letter to Brenda Acklin, as well as a copy of the

sentencing transcript.33 From this point, Ms. Acklin handled Plaintiff’ case, except for (1) Gryder

sending On December 8, 2016 e-mail to Donald Cassels requesting an updated minute entry,34 and

(2) Gryder processing him for release in January 2017.35 On December 13, 2016, Plaintiff sent a

follow up letter to Ms. Acklin.36 On December 14, 2016, Jesse Jimerson with David Wade’s

Classification Department sent an e-mail to the Division of Probation & Parole requesting that a

new residence plan be approved.37

         On December 23, 2016, Brenda Acklin issued a first step response to Plaintiff’s ARP, and

informed him that his time had been recalculated, and that he was being placed in UNSORP




29
   Id.
30
   Exhibit 1, 73:2-22.
31
   Exhibit 12.
32
   Exhibit 15, pp. 9-10.
33
   Exhibit 13.
34
   Exhibit 8, pp. 1-2.
35
   Exhibit 1, 77:21-15.
36
   Exhibit 13.
37
   Exhibit 14.

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status.38 On January 3, 2017, Plaintiff’s approved residence plan was sent to DWCC.39 On January

6, 2017, a State ID was requested and ordered for Plaintiff, which was issued on January 6, 201740

and received on January 11, 2017.41 Between January 5 and Plaintiff’s release on January 13,

DWCC continued to process release paperwork.42 Plaintiff was then released from DWCC on

January 13, 2017.43 Following his release, Plaintiff spent approximately one (1) month on parole

before being released from supervision in February 2017.44

         B. Pertinent Procedural Background

         Plaintiff filed the instant lawsuit on November 4, 2017.45 In the initial Complaint, Plaintiff

asserted claims pursuant to 42 U.S.C. §1983 and Louisiana state law. On January 31, 2018, the

defendants filed a Motion for Summary Judgment, wherein they sought dismissal on prescription

grounds.46 On August 31, 2018, the Court granted defendants’ motion in part, and dismissed

Plaintiff’s claims arising under Louisiana state law.             47
                                                                       As a result of the Court’s Ruling, only

Plaintiff’s §1983 claims remain.48

     Defendants, James LeBlanc, Sally Gryder, and Warden Jerry Goodwin now appear in this

Motion for Summary Judgment.




38
   Exhibit 15. UNSORP is short for “unapproved sex offender residence plan.” Exhibit 3, 13:13-14.
39
   Exhibit 16.
40
   Exhibit 18. Both Sally Gryder and Brenda Acklin testified that the state ID was needed prior to Plaintiff’s release.
Exhibit 1, 89:5-11; Exhibit 2, 29:13-30:1.
41
   Exhibit 17; Exhibit 2, 34:23-25; Exhibit 17, p. 2.
42
   Exhibit 19.
43
   Id, p. 4.
44
   Plaintiff’s brief time on parole supervision was due to his full term release date being February 2017. Exhibit 20.
45
   R. Doc. 1.
46
   R. Doc. 13.
47
   R. Doc. 39.
48
   Id.

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         ANALYSIS

                  A. Summary Judgment - Standard

         Pursuant to well-established legal principles, summary judgment is appropriate where there

is no genuine disputed issue as to any material fact and the moving party is entitled to judgment

as a matter of law.49 Supporting affidavits must set forth facts which would be admissible in

evidence, and opposing responses must set forth specific facts showing that there is a genuine issue

for trial. If the moving party carries its burden of proof under Rule 56, the opposing party must

direct the Court’s attention to specific evidence in the record which demonstrates that the non-

moving party can show a reasonably jury that it is entitled to a verdict in its favor.50

         This burden is not satisfied by some metaphysical doubt as to alleged material facts, by

unsworn and unsubstantiated assertions, by conclusory allegations, or by a mere scintilla of

evidence.51 Rather, Rule 56 mandates that summary judgment be entered against a party who fails

to make a showing sufficient to establish the existence of an essential element to that party’s case

and on which that party will bear the burden of proof at trial.52 Summary judgment is appropriate

in any case where the evidence is so weak or tenuous on essential facts that the evidence could not

support a judgment in the favor of the non-moving party.53 In resolving a motion for summary

judgment, the Court must review the facts and inferences in the light most favorable to the non-

moving party, and the Court may not evaluate the credibility of witnesses, weigh the evidence, or

resolve factual disputes.54




49
   FED. R. CIV. P. 56; Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 258 (1986).
50
   Anderson, 477 U.S. at 258.
51
   Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994).
52
   Celotex Corp. v. Catrett, 47 U.S. 317, 322 (1986).
53
   Little, 37 F.3d at 1076.
54
   Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257, 1263 (5th Cir. 1994), cert. denied, 502 U.S. 1059 (1992).

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           The defendants in this matter satisfy their initial responsibility in moving for summary

judgment by informing the Court of the basis for their motion through the Statement of Undisputed

Facts and the attached exhibits. The attached exhibits are as follows:

                      Exhibit 1:    Deposition of Sally Gryder
                      Exhibit 2:    Deposition of Brenda Acklin;
                      Exhibit 3:    Deposition of Jessie Jimerson;
                      Exhibit 4:    Deposition of Jerry Goodwin;
                      Exhibit 5:    DPS&C Regulation No. B-04-004;
                      Exhibit 6:    DPS&C Regulation No. B-02-018;
                      Exhibit 7:    DPS&C Regulation No. B-08-009;
                      Exhibit 8:    May 2015 & December 2016 E-Mail Chain between Gryder and
                                    Donald Cassels;
                      Exhibit 9:    2015 correspondence between Plaintiff and defendant Gryder;
                      Exhibit 10:   2015 Correspondence Between Plaintiff and defendant Goodwin;
                      Exhibit 11:   July 28, 2016 Order;
                      Exhibit 12:   November 18, 2016 letter from Plaintiff to defendant Gryder;
                      Exhibit 13:   December 2016 letters from Plaintiff to Brenda Acklin;
                      Exhibit 14:   December 2016 e-mails from Jesse Jimerson;
                      Exhibit 15:   Plaintiff’s ARP Request and ARP Responses;
                      Exhibit 16:   January 3, 2017 e-mail;
                      Exhibit 17:   Discharge Documents;
                      Exhibit 18:   Plaintiff’s State Issued Identification Card;
                      Exhibit 19:   Plaintiff’s Release Paperwork;
                      Exhibit 20:   Probation & Parole Narratives;
                      Exhibit 21:   Bill of Information;
                      Exhibit 22:   Sentencing Order;
                      Exhibit 23:   Docket Master Sheet.

           PLAINTIFF’S CLAIMS ARE BARRED BY HECK v. HUMPHREY

           The very first substantive paragraph of Plaintiff’s Complaint alleges that “Defendants

illegally imprisoned [Plaintiff] for 589 days past the end of his sentence.”55 As result of this alleged

illegal confinement, Plaintiff seeks damages, declaratory, and injunctive relief. 56 Because



55
     R. Doc. 1, ¶1.
56
     Id, ¶19.

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Plaintiff’s claims bear directly on the nature and duration of his confinement, they are barred by

the doctrine set forth in Heck v. Humphrey and its progeny, and should be dismissed with prejudice.

        A. Legal Framework

        In Heck v. Humphrey, the United States Supreme Court held that a prisoner’s §1983 claims

is not cognizable where “a judgment in favor of the Plaintiff would necessarily imply the invalidity

of his conviction or sentence.57 Before a court can entertain such a claim in a §1983 action, the

individual must show that his conviction or sentence has been overturned or called into question

in a separate proceeding, such as a habeas corpus proceeding.58

        However, Heck is but one in a line of Supreme Court cases delineating the circumstances

in which a prisoner may challenge his confinement in a §1983 action. In Wilkinson v. Dotson, the

Supreme Court analyzed its precedent from Preiser v. Rodriguez,59 Wolff v. McDonnell,60 Heck,

and Edwards v. Balisok61 and noted that:

        “these cases, taken together, indicate that a state prisoner’s §1983 action is barred
        (absent prior invalidation – no matter the relief sought (damages or equitable relief),
        no matter the target of the prisoner’s suit (state conduct leading to a conviction or
        internal prison proceedings)—if success in that action would necessarily
        demonstrate the invalidity of confinement or its duration.”62

Therefore, the starting point in the instant analysis is whether success on Plaintiff’s claims would

necessarily demonstrate the invalidity of his confinement, or its duration.




57
   512 U.S. 477 (1994).
58
   Damond v. LeBlanc, 2013 U.S. Dist. LEXIS 95586, *12 (M.D. La. 6/18/2013)(citing Heck).
59
   411 U.S. 475 (1973).
60
   418 U.S. 539 (1974)
61
   520 U.S. 641 (1997).
62
   544 U.S. 74, 81-82 (2005)(emphasis added).

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         B. Plaintiff’s Claims Bear on Both the Invalidity of His Confinement and the Duration

             of His Confinement

         Plaintiff alleges in this litigation that he has been subjected to an illegal confinement,

specifically, that he was imprisoned 589 days past his release date.63

         In order for Plaintiff to succeed in this litigation, he must show that his confinement was

illegally extended past his release date. Thus, Plaintiff necessarily must invalidate both the nature

and duration of his confinement. Indeed, by proving his case, Plaintiff would inherently invalidate

(1) the nature of his confinement was illegal (that the defendants had no authority to hold him),

and (2) the duration of his confinement was illegal (he was held for 589 days past his release date).

For this reason, Heck is triggered, and bars Plaintiff’s §1983 claims against the defendants unless

he can show that his confinement has previously been invalidated.

         C. There is No Indication that Plaintiff’s Confinement has been Previously Invalidated

             Under Heck

         Under Heck, a §1983 suit is barred unless the plaintiff can demonstrate that the nature and

duration of his confinement “has been reversed on direct appeal, expunged by executive order,

declared invalid by a state tribunal, or called into question by a federal court’s issuance of a writ

of habeas corpus.” Plaintiff cannot meet this burden.

         Because Plaintiff had a conviction of sexual battery, the requirements for a diminution of

sentence release (or parole) rely on more than just time computation. First, his sentences must have

been eligible for diminution of sentence, which is the basis for Ms. Gryder’s recalculation of his

sentence.64 Second, he had to have an approved residence plan prior to release.65 If either of these


63
   R. Doc. 1, ¶1.
64
   Specifically, Plaintiff’ sexual battery conviction was not eligible for good time or diminution of sentence.
65
   See La. R.S. §15:574.4.3(E), previously codified as Louisiana Revised Statute §15:574.4(S); See also Exhibit 7, pp.
5-6.

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conditions are not met, Plaintiff may not have been lawfully released. Similarly, in order to satisfy

his burden under Heck, Plaintiff had to previously invalidate the nature and duration of his

confinement by demonstrating the invalidity of both of these conditions.

         However, there is no indication that either or both of these criteria (both of which are

necessary to effect Plaintiff’s release) have been previously invalidated pursuant to Heck. Nowhere

in Plaintiff’s Complaint does he allege that a state or federal court has declared his June 2015-

January 2017 confinement invalid. Furthermore, there is no indication that Plaintiff filed any

petition for habeas corpus, a petition for judicial review, or any other similar parallel proceeding,

much less that his confinement was been “reversed on direct appeal, expunged by executive order,

declared invalid by a state tribunal, or called into question by a federal court’s issuance of a writ

of habeas corpus.”

         Plaintiff’s claims that he was illegally confined for 589 days past his legal release

inherently challenge the nature and duration of his incarceration. Because he cannot show that he

has met the requirements set forth in Heck, however, his §1983 claims against all defendants

should be dismissed with prejudice until Plaintiff meets the Heck requirements.66

         QUALIFIED IMMUNITY

         A. Qualified Immunity Standard

         The qualified immunity defense is a familiar one, and operates to protect a public official

who is performing a discretionary task.67 Government officials, performing discretionary

functions, “generally are shielded from liability for civil damages insofar as their conduct does not

violate clearly established statutory or constitutional rights of which a reasonable person would


66
   See Deleon v. City of Corpus Christi, 488 F.3d 649, 657 (5th Cir. 2007)(“a preferred order of dismissal in Heck
cases decrees, ‘Plaintiffs claims are dismissed with prejudice to their being asserted again until the Heck conditions
are met.’”).
67
   Hale v. Townley, 45 F.3d 914, 917 (5th Cir. 1995).

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have known.”68 Qualified immunity allows officials the freedom to exercise fair judgment,

protecting “all but the plainly incompetent or those who knowingly violate the law.”69

         The Courts use a two-step method in determining whether a defendant is entitled to

qualified immunity.70 The first step in the analysis is to consider whether, taking the facts as alleged

in the light most favorable to the plaintiff, the defendant’s conduct violated the plaintiff’s

constitutional rights.71 In the second step, the district court must determine whether the right

allegedly violated was clearly established at the time of the infraction. Id. The sequencing of the

analysis has been left to the discretion of the Court to determine which of the two prongs should

be analyzed first.72 This inquiry must be undertaken in light of the specific factual context of the

case, not as a broad, general proposition; The relevant, dispositive inquiry in determining whether

a constitutional right was clearly established is whether it would have been clear to a reasonable

official that his conduct was unlawful in the situation which he confronted.73 “In determining

whether an official enjoys immunity, we ask (1) whether the plaintiff has demonstrated a violation

of a clearly established federal constitutional or statutory right and (2) whether the official’s actions

violated that right to the extent that an objectively reasonable person would have known.”74

         “To determine that an official is not entitled to qualified immunity, the court must find

that every reasonable officer would have understood that the alleged conduct violated a clearly

established constitutional right.”75 A defendant’s subjective state of mind is irrelevant on the




68
   Harlow v. Fitzgerald, 457 U.S. 800, 817 (1982).
69
   Malley v. Briggs, 475 U.S. 335, 341 (1986).
70
   See Pearson v. Callahan, 555 U.S. 223, 232, (2009)(citing Saucier v. Katz, 533 U.S. 194 (2001).
71
   Pearson, 555 U.S. at 232.
72
   Id. at 236.
73
   See Id.
74
   Gobert v. Caldwell, 463 F.3d, 345 (5th Cir. 2006)(citing Hope v. Pelzer, 536 U.S. 730 (2002) and Beltran v. City of
El Paso, 367 F.3d 299, 303 (5th Cir. 2004)).
75
   Brauner v. Coody, 793 F.3d 493, 497 (citing Lytle v. Bexar Cnty., Tex., 560 F.3d 404, 409 (5th Cir. 2009)).

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question of whether he is entitled to qualified immunity. 76 The question of whether an official’s

conduct was objectively reasonable is a question of law, to be decided by this Court.77

        “Once defendants assert the qualified immunity defense ‘[t]he plaintiff bears the burden of

negating qualified immunity…but all inferences are drawn in his favor.”78 Specifically, a plaintiff

must show that (1) the defendants committed a constitutional violation under current law; and (2)

the defendants’ actions were objectively unreasonable in light of the law that was established at

the time of the actions complained of.79

        Plaintiff brings §1983 claims against the defendants LeBlanc, Goodwin, and Gryder for

alleged violations of Plaintiff’s rights under the United States Constitution. For the reasons

discussed in greater detail below, defendants are entitled to qualified immunity on these claims.

        B. Sally Gryder

        Defendant Gryder did not perform the initial time calculation for Plaintiff, but did perform

four recalculations of Plaintiff’s sentence. The first three recalculations that she performed

cumulatively (through jail credit and diminution of sentence reductions) resulted in a release date

of June 6, 2015.80 As that release date approached, Ms. Gryder double checked Plaintiff’ release

date and reviewed the sentencing order and the Bill of Information, which ordered Plaintiff’s

charges differently.81 Gryder took note of this discrepancy, consulted her supervisor Brenda

Acklin, and sought clarification by reaching out to the Orleans District Attorney’s Office. 82 She




76
   Anderson v. Creighton, 483 U.S. 635, 641 (1987).
77
   Evett v. Deep E. Tex. Reg’l Narcotics Trafficking Task Force, 330 F.3d 681, 687 (5th Cir. 2003)(internal citations
omitted).
78
   Brauner at 497 (citing Brown v. Callahan, 623 F.3d 249, 253 (5th Cir. 2010)).
79
   Zaunbrecher v. Gaudin, 641 Fed.Appx. 340, 344 (5th Cir. 2016)(unpublished)(citing Atteberry v. Nocona Gen.
Hosp., 430 F.3d 245, 253 (5th Cir. 2005)).
80
   Exhibit 1, 50:17-51:4.
81
   Id, 52:15-54:14; see also exhibits 21 & 22.
82
   Exhibit 1, 52:15-54:14.

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did so to ensure that Plaintiff was not released earlier than his legal release date.83 As the record

thus reflects, she acted objectively reasonably in this case by (1) seeking clarification based off of

a discrepancy between the sentencing order and the bill of information, and (2) basing the

recalculation of Plaintiff’s sentence off of a minute entry issued by the Orleans Parish Clerk of

Court. For these reasons, Ms. Gryder is entitled to qualified immunity.

                i.    Legal Standard

        The Fifth Circuit has explained that “[w]hile not a surety for the legal correctness of a

prisoner’s commitment, [a jailer] is most certainly under an obligation, often statutory, to carry out

the functions of his office. Those functions include not only the duty to protect a prisoner, but also

the duty to effect his timely release.”84 Indeed, the Fifth Circuit has noted that where [the jailer]

negligently establishes a record keeping system in which errors of this kind are likely, he will be

held liable.85 However, “if the errors take place outside his realm of responsibility, he cannot be

found liable because he has acted reasonably and in good faith.”86

        In order for Plaintiff to hold Gryder liable in this case, he must show that she acted with

deliberate indifference. The deliberate indifference standard is a high one.87 In order to establish

deliberate indifference, a Plaintiff must show that a state actor knew of and disregarded an

excessive risk to the Plaintiff.88 Indeed, “The state actor’s actual knowledge is critical to the

inquiry,” as a “failure to alleviate ‘a significant risk that he should have perceived but did not,’

while ‘no cause for commendation,’ does not rise to the level of deliberate indifference.”89



83
   Id, 53:3-17; 110:12-15.
84
   Porter v. Epps, 659 F.3d 440, 445 (5th Cir. 2011)(citing Whirl v. Kern, 407 F.2d 781, 792 (5th Cir. 1969)).
85
   Bryan v. Jones, 530 F.2d 1210, 1215 (5th Cir. 1976).
86
   Id.
87
   Whitley v. Hanna, 726 F.3d 631, 641 (5th Cir. 2013)(citing Doe v. Dall INdep. Sch. Dist., 153 F.3d 211, 2019 (5th
Cir. 1998)).
88
   See Id. (citing McClendon v. City of Columbia, 305 F.3d 314, 326 n. 8 (5th Cir. 2002)
89
   Id. (citing Farmer v. Brennan, 811 U.S. 825, 837 (1994)).

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Importantly, negligent acts or omissions do not rise to the level of deliberate indifference.90 Rather,

the official must both be aware of facts from which the inference could be drawn that a substantial

risk of serious harm exists, and she must also draw the inference.91

        Put in the context of this case, Plaintiff must establish that Gryder was aware of that her

action of seeking clarification would cause Plaintiff to be over detained, and took no other action

to abate it. Plaintiff’s claim against Gryder fails in this regard, and should be dismissed.

               ii.    Gryder did not act with deliberate indifference towards the risk of harm

                      (Plaintiff being held past his release date)

        Plaintiff essentially argues in this litigation that Gryder acted with deliberate indifference

because she perceived a discrepancy between the sentencing order of the criminal court and the

bill of information, and then sought clarification to ensure the accuracy of Plaintiff’s June 2015

release date. This assertion is without merit.

        First, any assertion that Gryder should be liable simply because she may have acted in

contravention of DPS&C policy is easily disposed of. It is a well settled point of law that the mere

violation of a prison policy does not itself state a claim for a constitutional violation.92

        Second, it was objectively reasonable for Ms. Gryder to seek a clarification of Plaintiff’s

sentence to ensure that she was correctly computing Plaintiff’s sentence. As, Ms. Gryder testified

that “I don’t recall ever running into that, where the order of the court – or what we call Sentencing

Minutes is different from Docket Master.”93 She also testified that “if there’s a discrepancy maybe

in the minutes or the uniform – between the minutes and the Uniform Commitment Order of in the

Bill of Information and the Sentencing Minutes or we need clarification, I wouldn’t hesitate to ask


90
   Farmer at 835.
91
   Id. at 837.
92
   See Jackson v. Cain, 864 F.2d 1235, 1251-1252 (5th Cir. 1989).
93
   Exhibit 1, 123:5-8.

                                                       15
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for clarification.”94 This, Gryder testified, is particularly true where the discrepancy would have

an effect on an offender’s time.95

         Third, there is no evidence that Ms. Gryder knew that the Clerk was going to erroneously

amend the minute entry. To the contrary, Gryder testified:

         I sought clarification and all they had to do was tell me – clarify that he in fact got
         two years and his – had they told me at the time – and not changed his minutes, I
         would have never recalculated his time. I think that’s evident. I recalculated his
         time based on amended minute from Orleans Parish. I didn’t have anything to do
         with what Orleans did.96

As this testimony shows, Ms. Gryder took action merely to ensure that Plaintiff was indeed

sentenced to two years for his sexual battery conviction. Importantly, the record is clear that no

recalculation was performed by Ms. Gryder until the Orleans Clerk of Court issued an amended

minute entry and she received an e-mail from Donald Cassels confirming the minute entry.97

Furthermore, Ms. Gryder testified that she believed that the amended minutes controlled in

Plaintiff’s recalculation.98 Even if this belief was erroneous or in contravention of policy, it does

not amount to deliberate indifference.

         Finally, the record evidence clearly shows that it was not until December 2016, when she

received the sentencing transcript, that Gryder realized that Plaintiff’s release date should have

been in June 2015.99 This is evidenced by Gryder’s responses to Plaintiff’s correspondence

throughout 2015, especially when she informed Plaintiff that “I did not change your sentence until

after I received written verification from the District Attorney’s office and a corrected minute entry

from the sentencing court.”100 Upon receipt of the sentencing transcript in December 2016, the


94
   Id, 42:1-6.
95
   Id, 42:7-17.
96
   Id, 79:3-10.
97
   Id, 117:3-118:6.
98
   Id, 125:22-126:15.
99
   Id, 78:18-22.
100
    See Exhibit 9.

                                                   16
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evidence shows that Brenda Acklin took over handling of Plaintiff’s case,101 except for Gryder

sending an e-mail to Donald Cassels and actually processing his release paperwork in January

2017.102 For this reason, Plaintiff cannot show that Gryder failed to take any action with knowledge

that Plaintiff’s overdetention, and Gryder is entitled to qualified immunity.

              iii.    Even if Gryder acted with deliberate indifference, she did not act

                      objectively unreasonably in light of clearly established law

        The United States Supreme Court has “repeatedly told courts…not to define clearly

established law at a high level of generality.”103 In Porter, the Fifth Circuit posited that a “jailer

has a duty to ensure that inmates are time released from prison. In this context, the Porter Court

framed the issue thusly: “[T]he issue is whether [the defendants’] actions, in light of his duty to

ensure Porter’s timely release from prison, were objectively unreasonable.” Porter, 659 F.3d at

446.

        While Porter reinforces the proposition that an offender has a clearly established right to

release, Porter does not clearly establish that seeking clarification into a perceived discrepancy

between sentencing documents is deliberate indifference. This is particularly true considering that

Gryder sought clarification merely to prevent releasing Plaintiff earlier than he should have been

– not to overdetain him. Here, it is axiomatic that the State of Louisiana has an interest in not

releasing an offender earlier than his legal release date. As Warden Goodwin explained in his

deposition, “if somebody is released in error too early, then we have to, obviously, make

notifications and do a warrant, you know, issue a warrant, whatever. If he owes you more time,

you got to get him picked up and let Probation and Parole know, things of that nature.”104


101
    Exhibit 1, 77:21-78:15.
102
    Exhibit 17.
103
    Trent v. Wade, 801 F.3d 494 (5th Cir. 2015)(citing Ashcroft v. Al-Kidd, 563 U.S. 731, 742 (2011).
104
    Exhibit 4, 16:16-22.

                                                        17
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         This is not case where Gryder actually knew of Plaintiff’s overdetention and failed to take

any action; rather, the record reflects that Gryder was concerned with the possibility of releasing

Plaintiff too early, which is a valid and reasonable concern. Even if contacting the District

Attorney’s office ultimately led to the Orleans Clerk of Court to issue an erroneous minute entry,

the record is clear that Gryder did not reach out with knowledge that it would result in the

overdetention of Plaintiff, or that it would otherwise violate his constitutional rights. Gryder is

entitled to qualified immunity, and Plaintiff’s claims against her should be dismissed with

prejudice.

         C. James Leblanc and Jerry Goodwin

         Plaintiff’s due process claims against the defendants implicates two claims: (1) a “failure

to intervene” claim, which this Court has previously indicated to implicate the doctrine of

“bystander liability,” 105 and (2) a theory of supervisory liability, as Plaintiff expressly alleges

LeBlanc’s and Goodwin’s roles as a “final policymaker.”106 Defendants LeBlanc and Goodwin

address each of these claims in turn.

                i.    Bystander Liability

         As the Fifth Circuit has explained, a state official may be liable under §1983 if the official

(1) knows that a fellow office is violating an individual’s constitutional rights, (2) has a reasonable

opportunity to prevent the harm, and (3) chooses not to act.107 In resolving whether a plaintiff has

sufficiently alleged a bystander liability claim, the courts also consider whether an officer

“acquiesce[d] in” the alleged constitutional violation.108 Plaintiff’s “failure to intervene” claims

fail for three reasons.


105
    R. Doc. 39, p. 5, fn 9.
106
    R. Doc . 1, ¶24-25.
107
    Whitley v. Hanna, 726, F.3d at 646-647.
108
    Id. at 647 (internal citations omitted).

                                                   18
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           First, Plaintiff’s “failure to intervene” claim against Goodwin and LeBlanc fails because,

for the reasons discussed above, Gryder did not herself violate the rights of Plaintiff. It is axiomatic

that an official cannot “know that a fellow officer is violating an individual’s constitutional rights”

if the other officer is not actually violating Plaintiff’s rights. Because Gryder did not act with

deliberate indifference towards Plaintiff, Goodwin and LeBlanc cannot be held liable under a

theory of bystander liability.

           Second, there is no evidence in the summary judgment record that either LeBlanc nor

Goodwin had any personal knowledge that Gryder was violating Plaintiff’s rights. As to defendant

LeBlanc, there is no indication that defendant LeBlanc had any involvement whatsoever, or that

he had any reason to know about Plaintiff’s circumstances or his time computation. The evidence

also reflects that Warden Goodwin had no knowledge that Gryder’s recalculation was erroneous.

Upon receiving the letter from Plaintiff in July 2015, defendant Goodwin forwarded the letter to

Brenda Acklin (Gryder’s supervisor), and conferred with Brenda Acklin and Sally Gryder. Warden

Goodwin testified that he formed the opinion that Plaintiff’s recalculation was corrected “based

on the way Ms. Gryder explained it to me. Her and Ms. Acklin are the experts in that area and they

explained to me how – and she showed me the adjusted court minutes and it was pretty obvious to

me it was accurate at that point.”109

           Plaintiff’s failure to intervene claims against Goodwin and LeBlanc should be dismissed

with prejudice.

                  ii.       Supervisory Liability

           In Plaintiff’s Complaint, he claims that the “misconduct [described above] was caused by

the policies, practices, and customs of Defendants, in that their employee and agents regularly



109
      Exhibit 4, 24:8-13.

                                                    19
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overdetain persons who are subject to release.”110 This claim fails for two important reasons. First,

the record evidence reflects that Ms. Gryder did not miscalculate Plaintiff’s sentence, in the sense

that the technical computation was accurate111 – rather, Ms. Gryder’s second time computation

was based off of the amended clerk’s minute that misstated Plaintiff’s sentence for sexual battery.

Plaintiff asserts that pattern and practice liability lies in this case simply because “the employees

and agents regularly over detain persons who are subject to release.” As discussed below,

however, this is insufficient to establish a pattern and practice claim against LeBlanc and

Goodwin.

                            a) Legal Standard

         It is a well-established point of law that a supervisory official cannot be held liable for the

acts or omissions of their subordinates under §1983.112 Indeed, “[E]ach government official, his or

her title notwithstanding, is only liable for his or her own misconduct.” Ashcroft v. Iqbal, 556 U.S.

662, 677, 129 S. Ct. 1937, 173 L. Ed. 868 (2009). A showing of merely negligent conduct by a

supervisory official is insufficient to overcome the defense of qualified immunity. See Whitley v.

Hanna, 726 F.3d 631, 643 (5th Cir. 2013)(“Actions and decisions by officials that are merely inept,

erroneous, ineffective, or negligent do not amount to deliberate indifference and thus do not divest

the official of qualified immunity.”).

         Generally, in order for a supervisor to be held liable, a plaintiff must prove (1) his personal

involvement in the constitutional deprivation or (2) a sufficient causal connection between the

supervisor’s wrongful conduct and the constitutional violation, such as where the supervisor




110
    R. Doc. 1, ¶107.
111
    There is no dispute that that the February 28, 2017 full term release date would have been correct if Plaintiff would
have sentenced to five years on the sexual battery conviction.
112
    See Estate of Davis ex rel. McCully v. City of N. Richland Hills, 406 F.3d 375, 381 (5th Cir. 2005)(internal citations
omitted).

                                                           20
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implemented or enforced unconstitutional policies which actually resulted in the plaintiff’s

injuries.113

         Additionally, a supervisor may be held personally liable where a failure to supervise or

train amounts to deliberate indifference and is a proximate cause of a constitutional violation.114

In order to hold a defendant liable under such a theory, “the plaintiff must show that: (1) the

supervisor either failed to supervise or train the subordinate official; (2) a causal link exists

between the failure to train or supervise and the violation of the plaintiff’s rights; and (3) the failure

to train or supervise amounts to deliberate indifference.115

         In order for a supervisor to be liable for failure to train, the focus must be on the adequacy

of the training program in relation to the tasks the particular subordinates must perform. 116 Mere

proof that the injury could have been prevented if the subordinate had received better or additional

training cannot, without more, support liability.117 Additionally, for liability to attach based on an

inadequate training claim, a plaintiff must allege with specificity how a particular training program

is defective.118 Furthermore, “Proof of a single instance, rather than a pattern of similar violations,

normally will not sustain a plaintiff’s claims that such a lack of training or supervision caused a

violation of [his] constitutional rights.”119




113
    Porter, 659 F.3d at 446 (citing Gates v. Texas Dep’t of Prot. & Reg. Servs., 537 F.3d 404, 435 (5th Cir. 2008)).
114
    Id. (citing Brown v. Callahan, 623 F.3d at 254 n.1 (5th Cir. 2010).
115
    Porter, 658 F.3d at 446 (citing Goodman v. Harris Cnty., 571 F.3d 388, 395 (5th Cir. 2009)); Brauner, 793 F.3d.
at 501 (citing Smith v. Brenoettsy, 158 F.3d 908, 911-12 (5th Cir. 1998)); Estate of Davis, 406 F.3d at 381.
116
    See Roberts v. City of Shreveport, 397 F.3d 287, 293 (5th Cir. 2005).
117
    Id.
118
    Id.
119
    Cozzo v. Tangipahoa Parish Council-President Gov’t, 279 F.3d 273, 286 (5th Cir. 2002)(internal citations omitted).

                                                         21
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                         b) Plaintiff’s Supervisory Liability Claims Fail Because Plaintiff’s Claims

                              Against Gryder Fail

         First, defendants LeBlanc and Goodwin note that Plaintiff’s “pattern and practice” claim

fails against them simply because Gryder did not act with deliberate indifference. Indeed, it is a

threshold requirement that an underlying constitutional violation occur before supervisory liability

may attach.120 As Plaintiff’s §1983 claims against Gryder fail as a matter of law, so too must his

claims against LeBlanc and Goodwin.

                        c) Pattern or Practice Claims

         Plaintiff’s pattern or practice claims fail as a matter of law. As the Fifth Circuit has noted,

“a pattern of similar constitutional violations by untrained employees is ordinarily necessary to

demonstrate deliberate indifference,” because “[w]ithout notice that a course of training is

deficient in a particular respect, decisionmakers can hardly be said to have deliberately chosen a

training program that will cause violations of constitutional rights.” 121 The Fifth Circuit has also

stated that “where prior incidents are used to prove a pattern, they ‘must have occurred for so long

or so frequently that the course of conduct warrants the attribution to the governing body of

knowledge that the objectionable conduct is the expected, accepted practice of city employees.”122

         Here, Plaintiff cannot show that DOC policy or practice caused the “objectionable conduct”

in question, i.e., Gryder seeking clarification of Plaintiff’s sentence. Rather, Plaintiff seeks to

impose pattern or practice liability simply on the basis that there may be other offenders held past

their release date – but without regard to the factual circumstances underpinning such instances.



120
    Rios v. City of Del Rio, 444 F.3d 417, 425-426 (5th Cir. 2006)(“it is facially evident that this test cannot be met if
there is no underlying constitutional violation”)(citing Breaux v. City of Garland, 205 F.3d 150, 161 (5th Cir. 2000));
Estate of Henson v. Callahan, 440 Fed. Appx. 352 (5th Cir. 2011)(unpublished)(internal citations omitted).
121
    Porter at 447 (internal citations omitted).
122
    Peterson v. City of Fort Worth, 588 F.3d 838, 850 (5th Cir. 2009)(emphasis added)(citing Webster v. Houston, 735
F.2d 838 (5th Cir. 1984)).

                                                           22
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           For instance, in his own motion for summary judgment, Plaintiff relies on the 2017 LLA

audit in support of his claim, which noted issues such as “DOC’s process for calculating offender

release dates is inconsistent, which can result in errors.”123 Notably, however, this is not a contested

element in this case: Although Gryder’s recalculation of Plaintiff’s release resulted in Plaintiff

being held past his June 2015 good time release date, the actual calculation was not wrong, just

the information upon which it was based (the May 7, 2015 amended minute entry). In fact, there

is no dispute that Plaintiff’s good time release date (of June 5, 2015) nor his full term release date

(of February 28, 2017) were improperly calculated from a mathematical perspective. This is vastly

distinct from the “errors in calculation” issue identified by the LLA report, and demonstrates why

Plaintiff’s reliance on same is insufficient to demonstrate pattern or practice liability.

           Again, Ms. Gryder’s second recalculation of Plaintiff’s sentence was based upon an (now

known to be erroneous) minute entry by the Orleans Clerk of Court. There is no evidence, however,

that the DPS&C had a policy or practice that would cause the Orleans clerk to issue an erroneous

minute entry. Gryder’s testimony in this regard should again be noted:

           I sought clarification and all they had to do was tell me – clarify that he in fact got
           two years and his – had they told me at the time – and not changed his minutes, I
           would have never recalculated his time. I think that’s evident. I recalculated his
           time based on amended minute from Orleans Parish. I didn’t have anything to do
           with what Orleans did.

Because Gryder’s actions were based upon the issuance of an amended minute entry from the

Orleans minute clerk, Plaintiff cannot show that DPS&C policy was the driving force behind such

an action.

           Furthermore, even after viewing Plaintiff’s claims in a light most favorable to him, the

evidence at most establishes that Ms. Gryder negligently failed to follow DOC policy regarding



123
      R. Doc. 51-1, p. 11.

                                                     23
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the priority of documents for sentencing. There is no indication that Goodwin or LeBlanc had any

knowledge that Gryder was likely to deviate from DPS&C policy, or even that such deviation

would be likely to cause the over detention of Plaintiff or otherwise violate his rights. This cannot

establish a “pattern and practice” claim, and Plaintiff’s claims should be dismissed.

                      d) Failure to Train

         Plaintiff’s failure to train claims likewise fail as a matter of law. As the United States

Supreme Court has noted, any “identified deficiency in a training program must be closely related

to the ultimate injury. Thus in the case at hand, respondent must still provide that the deficiency in

training actually caused the...indifference[.]”124 Again, Plaintiff’s theory of liability against Sally

Gryder is that she deviated from DOC policy by seeking clarification of Plaintiff’s sentence. Even

assuming arguendo that “seeking clarification” is objectively unreasonable (which it is not),

Plaintiff cannot identify any particular deficiency in DPS&C’s training program that caused

Gryder to take such action. Even taking Plaintiff’s assertions as true, DOC implemented the exact

framework that is seemingly necessary (according to Plaintiff) to prevent the type of harm Plaintiff

alleges: a policy that provides the basis for which to compute an offender’s sentence.125 Thus,

defendants Goodwin and LeBlanc cannot be said to have failed to train employees such as Gryder,

and Plaintiff’s supervisory liability claims against defendants Goodwin and LeBlanc should be

dismissed with prejudice.

         INJUNCTIVE RELIEF

         In his Complaint, Plaintiff seeks injunctive relief as a result of the alleged actions of the

defendants.126 In order to obtain an permanent injunction, a party is required to demonstrate that



124
     See City of Canton v. Harris, 489 U.S. 378, 391 (1989).
125
    See Exhibit 5, pp. 10-11; See also Exhibit 6, p. 7.
126
    R. Doc. 1, ¶19.

                                                         24
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1) that the party has suffered irreparable injury; 2) that the remedies available at law, such as

monetary damages, are inadequate to compensate for that injury; 3) that considering the balance

of hardships between the plaintiff and defendant, a remedy in equity is warranted; and 4) that the

public interest would not be disserved by a permanent injunction.127 However, as Plaintiff lacks

constitutional standing to bring an injunctive relief claim, he cannot meet any of these elements,

and his injunctive relief claim should be dismissed with prejudice.

        Plaintiff cannot meet his burden of proving standing. In order to establish standing for the

purposes of Injunctive Relief, a plaintiff must prove (1) an “injury in fact that is (a) concrete and

particularized and (b) actual or imminent; (2) a causal connection between the injury and the

conduct complained of; and (3) likelihood that a favorable decision will redress the injury. 128 “Past

exposure to illegal conduct does not in itself show a present case or controversy regarding

injunctive relief…if unaccompanied by continuing, present adverse effects.”129 Indeed, the

“threatened injury must be certainly impending to constitute injury in fact,” and “allegations of

possible future injury” are not sufficient.130

        In this case, Plaintiff is unable to establish these elements for the purposes of standing.

Initially, Plaintiff cannot show that his injury is actual or imminent, as opposed to conjectural or

hypothetical.131 Plaintiff was released from incarceration in January 2013. As Plaintiff’s parole

narratives reflect, Plaintiff is no longer under any parole supervision under the State of Louisiana,

and his sentence is complete as of February 2017.132 There is also no indication that Plaintiff

intends to return to incarceration, or into a situation where he will then be held past his release date


127
    eBay, Inc., et al v. Merchexhange, L.L.C., 547 U.S. 388 (2006); See also Weinberger v. Romero-Barcelo¸456
U.S. 305, 311-313 (1982); Amoco Production Co. v. Gambell, 480 U.S. 531, 542 (1987).
128
    Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-561 (1990).
129
    Id. at 564, citing City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983).
130
    B & D Plumbing Co. v. Finley, 2019 U.S. Dist. LEXIS 10466, *6 (M.D. La. 1/22/2019)(internal citations omitted).
131
    See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)(Citing Lujan, 504 U.S. at 560.)
132
    Exhibit 20.

                                                        25
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by the defendants. Even if Plaintiff were asserting such claims, they would be entirely hypothetical

and speculative. For this reason, Plaintiff’s claims for injunctive relief should be denied.

       CONCLUSION

       For the reasons discussed in great detail above, Plaintiff’s claims against the defendants

should be dismissed. Plaintiff’s §1983 claims are barred by Heck v. Humphrey, as he has not

previously invalidated the nature and duration of his confinement. Additionally, the defendants are

entitled to qualified immunity. Finally, Plaintiff lacks constitutional standing to bring claims for

injunctive relief against the defendants. Plaintiffs’ §1983 claims against James LeBlanc, Jerry

Goodwin, and Sally Gryder should be dismissed, with prejudice.

                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 30th day of April, 2019, the foregoing was filed

electronically with the Clerk of Court by using the CM/ECF system. Notice of this filing will be

sent to all parties who participate in electronic filing by operation of the court’s electronic filing

system.

                                         /s/ James G. Evans
                                           James G. Evans




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